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program, especially hospital rotations, was apparent among American students.
Unfortunately, recruiters minimize the importance of language acquisition by
assuring prospective applicants they can rely on interpreters during their hospital
rotations. The basic sciences are a standard curriculum similar to medical schools
in the USA except that clinical medicine experience in internal medicine begins in
the second year. The fourth academic period gives little choice in terms of electives
but foreign students may complete up to 16 weeks of electives in their own
countries. There are five state hospitals and numerous specialty clinics in Poznan.
A historic campus is scattered throughout the central city with dorm facilities
available for students in the English language medical program. There is a U.S.
recruitment office in New York.

Medical School of Lublin, Lublin

Lublin is a University town with one of the country's newer medical schools,
established in 1944. There is a private organization that markets the program in the
United States. The medical school is part of a larger University complex containing
a broad range of facilities. The English language curriculum is four or six years with
more intensive Polish language instruction than found in other programs. However,
the U.S. placement institute assured our prospective applicant that interpreters
could be used in the third and fourth year rotations. There is a small population of
American and Asian students in this program, many of whom paid a substantial fee
of $7,900 to a placement agency in the United States to be guaranteed a seat.
Other nationalities in the program applied directly to the school. There are
approximately 300 medical students admitted to the regular and English language
programs. There was a total of about 170 Americans enrolled in the four and six
year programs. Although there are 5 hospitals and a number of smaller clinics,
patient contact is low due to the large number of trainees. There are opportunities
for rotations at a limited number of hospitals in the USA for students placed
through the private organization. To qualify for rotations in the United States, the
student must first pass the USMLE Step |, then pay up to $200.00 per week for
hospital fees at U.S. affiliates. It is recommended, however, that the third year be
completed in Poland.

Silesian University School of Medicine, Katowice

Katowice is a large industrial city still suffering the consequences of years of
unchecked severe pollution that still plagues Eastern Europe. The city is a major
university center with one of the largest medical school student populations in
Poland. There are two huge campuses and many modern facilities. There is a four-
year and six-year English language program with much the same student body
profile as found in Lublin. There were about 180-190 American citizens present
during our site visit. The same placement institute sends students to Silesian as to
Lublin. There is intense language instruction but recruiters still gave the impression
that the third and fourth year clerkships could be mastered with the use of
interpreters. Although there are ten hospitals serving a larger geographical area
and many specialty clinics, the medical school admits so many students each year
that there is competition for good teaching cases. American citizens sent to
Katowice by the placement institute are eligible for clerkship rotations in U.S.
hospitals if they first pass Step | and agree to pay weekly Hospital fees of up to
$200.00 per week. It is recommended that third year rotations be completed in
Katowice.

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First Faculty of Medicine, Charles University, Prague/Hradec Kralove

Prague is truly the queen city of Eastern Europe and full of marvelous cultural
opportunities. Charles University in one of the oldest Eastern European
Universities founded in 1348. An application to the English language program may
result in admission to the more competitive seats at the Medical Faculty of Frague
or result in acceptance at another campus. There is second Charles University
Medical Faculty about 60 miles away in the pretty town of Hradec Kralove.
Although it is a much newer facility (established 1945), the English language
program curriculum is the same as at the main campus. As in other medical
schools, there is a broad mix of students in the English language program. Czech
programs are six years in duration and the English language program is nearly
identical to the curriculum followed by Czech medical students. An entrance
examination is required for all foreign students to determine proficiency in
undergraduate sciences. Language instruction is intensive in the basic science
curriculum and it is clearly stated that proficiency in Czech is required for
communicating with patients. Americans are a smaller percentage of students in
both English language programs. There are about 200 total students in the English
language curriculum, primarily composed of Scandinavians, Western Europeans,
Greek citizens and students from Middle Eastern countries. Both campuses have
highly computerized library and research facilities and are part of the
Socrates/Erasmus Programme which links major European universities. Prague
has a much larger patient base but the hospitals are scattered throughout the city
and supported by smaller, decentralized specialty clinics. The centralized 1600 bed
University Hospital in Hradec Kralove, however, was more than sufficient for
teaching purposes.

Palacky University Faculty of Medicine, Olomouc

Olomouc is the fifth largest city in the Czech republic located in a primarily
agricultural section of the country. The city has a lovely historical section which
incorporates part of the University. Facilities range from massive 19th century
lecture theaters to modern computerized labs. Czech language courses are taught
seriously and intensively. The library is highly computerized and allows students to
have access to Ovid Medline. The English language program began in 1993 and
has remained a small program with few North Americans. Testing follows the
European oral tradition but there is some attempt on the part of the faculty to
provide multiple choice testing options. Palacky is unique in that the medical school
has its own 1700 bed hospital serving the 100,000 inhabitants of Olomouc and
surrounding rural communities.

Albert Szent Gyorgyi Medical University, Szeged

This University has one of the oldest English Language programs in Eastern
Europe (16 years) and recently opened a German language program. Hungarian
medical schools are regulated by strict state codes that all students must follow.
The standard curriculum is six years. Hungarian language is taught intensively and
fluency is expected by the time the student enters clerkships in the last two years.
There is a social service internship year that follows graduation from medical
school. Graduates of Hungarian medical schools must write a thesis and pass a

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state board exam. The basic curriculum is well organized with standard American
and English medical texts. The patient base, clinical and hospital facilities are
adequate for the size of the student body.

University Medical School of Debrecen, Debrecen

Debrecen has one of the oldest Universities in Hungary. It is the second largest city
in Hungary but located in a geographically stunning area characterized by a
national park and old spas with thermal baths. The English language program
opened 12 years ago but adheres more to traditional European educational
standards. There is a required entrance exam for all students and the curriculum
for students in the English language program is almost identical to that of the six
year regular program. Foreign students may receive advanced standing of one
year with sufficient premedical preparation. Hungarian is a difficult language to
master and taught to all students. It is clear that language proficiency is expected
by the time the student reaches clerkships. There is a social service internship year
that follows the graduation from medical studies. Graduates of Hungarian medical
program must write a thesis and pass a state board exam.

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Semmelweis University, Budapest

Semmelweis has the advantage of being located in Budapest, one of the larger
historic capitals of Eastern Europe with easy access to Austria and Germany. It is a
large University and medical school located in the historic area of the city. The
English language program, which is about seven years old, was found by the
evaluators to be quite small and disorganized in terms of a curriculum and
schedule. No one could tell us exactly how many Americans were enrolled or
where to find them. We did meet Scandinavian and German students who stated
there were few Americans in the program. It is a fully functional medical school but
the English language program is lacking in organization and facilities. The hospitals
and patient base are more than sufficient to provide challenging clinical
experiences.

Medical University of Gdansk:

The English language program is attended primarily by Western European
students. There are approximately 10 Americans according to the U.S. recruitment
office. Gdansk does not yet qualify for FFEL loans but has applied. A private
recruitment organization in the U.S. charges a $5,000 placement fee.

Carol Davila, Bucharest, Romania
Despite email requests, AAIMG did not received sufficient information about the
English language program to merit a visit at this time.

Medical Academy of Latvia, Riga Stradins University, Riga Latvia:
New Program, little information available at this time.

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Eastern European medical programs provide a viable alternative for young
Americans unable to gain acceptance into U.S. medical schools. A majority of the
programs are cost effective and train competent physicians. The problems
encountered by Americans studying in Eastern Europe have little to do with the
quality of medical school or differences in curriculum. Personal traits involving
motivation, adaptability and willingness to learn a foreign language is the key to
successful completion of a medical education in any foreign country.

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e Be skeptical of information you receive from stateside recruiters, especially
programs marketed by private placement organizations that charge high
fees. Be wary of any program that minimizes the importance of learning the
native language.

e All serious applicants should travel to Eastern Europe to visit medical
schools in the final selection pool. A personal visit allows the applicant to
speak with faculty, other students in the program and evaluate the facilities. It
is money well spent and will avoid later problems.

e Apply directly to the medical school and avoid paying high fees to placement
agencies. Eastern European medical schools using placement agencies
have ample “seats” for qualified students. Applicants would be better off
using the funds to take a vacation to Europe to evaluate the programs and
apply directly.

e Expect to attain fluency in the native language for maximum adjustment and
to maximize learning in clerkships. Communication is the key to the
physician-patient relationship. It is difficulty to treat patients properly if you
totally rely on an interpreter.

e Make sure that the curriculum and facilities available to students in the
English language program are comparable to those allocated for local
students.

e Avoid living in dorms or housing with segregated housing for English
language program students. Living with a local family or having a roommate
who speaks the native language will accelerate your language skills
significantly.

e Absolutely avoid programs that promise advanced standing, especially for
chiropractors, podiatrists or other allied health care professionals. AAIMG
has received complaints from chiropractors who enrolled in a program in the
former Soviet Union and lost a great deal of money. This program is no
longer in existence.

e Take advantage of the proximity of Eastern Europe to other countries and
use vacation time to explore and enrich your cultural knowledge base. A
friendly, considerate manner will overcome many obstacles along the way.

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We are pleased to release a preliminary report
of our first set of evaluations of medical schools
located in the Caribbean Basin. Our evaluation
teams visited a total of 14 medical schools on
various islands. In this region, six medical
schools were identified as meeting or exceeding
75 % of stated criteria in all evaluation
categories. In presenting the names on the list
below, AAIMG does not endorse any single
school or program. The following list identifies
medical school programs in a variety of locations that have met the minimum
evaluation criteria of this organization.

 

e Medical schools meeting or exceeding AAIMG evaluation criteria in the
Caribbean basin

We are pleased to release a report of evaluations of medical schools with English
language programs or programs that accepts students from the United States. The
Federal Government of Mexico has done an exemplary job in regulating medical
school education in that country. Governments in Central America vary in their
regulation of post secondary and professional education.

e Medical schools meeting or exceeding AAIMG evaluation criteria in Mexico
and Central America

This category covers new medical schools that meet the 75% AAIMG evaluation
criteria relative to the school's level of development. AAIMG will monitor the this
school's application for review by the California Medical Board as well as the
ramifications of a U.S. campus opened in the state of Maine.

e St. Matthew's University School of Medicine
Belize, Central America

 

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1. Itis significantly more difficult to be
accepted into medical school today than
10 years ago. MCAT scores and grade
point requirements are higher. Thousands
of talented, well- qualified, individuals
therefore are denied admission each
year.

 

 

2. Failure to gain admission to a U.S.
medical school should not be interpreted as a sign of failure. If you have the
motivation, there are acceptable programs abroad.

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You do not have to be gifted in a foreign language to study abroad. Many
international schools have English language programs or are located in
English speaking countries.

4. Over 25% of all practicing physicians in the United States are International
Medical Graduates. U.S. citizens who train abroad are now a significant part
of the IMG physician population.

5. There are roughly 15,000 U.S. graduates a year and approximately 21,500
postgraduate residency positions available. The number of residency
programs has increased every year for the past 30 years. International
Medical Graduates are needed to fill these surplus residencies.

 

6. The highest concentrations of IMG's are in the specialties of Internal
Medicine, Psychiatry, Anesthesiology and Primary Care.

 

 

7. Over the past decade IMG's with high USMLE scores from reputable foreign
programs have been able to obtain residencies in more competitive areas
such as Surgery, Radiology and Obstetrics and Gynecology.

8. All medical students now take one exam called the United States Medical
Licensure Exam series (USMLE). There are two additional exams for IMG's:
The Clinical Skills Assessment exam (CSA) and a language proficiency
exam, the TOEFL.

9. The passing rate for American and Canadian International Medical
Graduates on the Clinical Skills Assessment Exam exceeds that of other
foreign trained physicians.

40. Today, there is far more scrutiny of U.S. citizens studying medicine abroad

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by state licensing boards than existed 10 years ago. it is therefore important

to study at an established, stable school that will keep permanent records.

Residency Training Programs, however, appear to be more receptive to U.S.
citizen IMG's than they were 10 years ago. A United States Citizen does not
need a special visa. Furthermore, because most American IMG's have done
clerkship rotations in U.S. hospitals, they often integrate quickly and with
fewer difficulties into training programs.

After passing the USMLE Step | & Il, the CSA and TOEFL exams, IMG's are
eligible to participate in the National Residency Matching Program. Uriike
U.S. medical students, IMG's are free agents and may sign residency
training contracts with programs outside of the MATCH.

There is no doctor glut in the United States. There is a significant mal-
distribution of physicians with high concentrations in urban areas and a
severe shortage of qualified physicians in rural locations.

Despite recent publicity, a majority of U.S. residency training programs are
not decreasing training positions. An increase in Primary Care postgraduate
programs balances cut backs in specialty areas. Physicians are retiring or
decreasing practice at an earlier age than anticipated. This accounts for the
current shortage of Anesthesiologists, for example.

For several years, there has been discussion in Congress of limiting
Medicare funding to residency training programs accepting IMG's. Although it
is a remote possibility, such action should not affect foreign trained U.S.
citizens who are permanent residents and tax payers.

In 1999, the AMA declared that there are now sufficient Primary Care
physicians. Future residents, including IMG's, can feel free to apply for more
competitive specialties.

Patients are more concerned with the quality of care physician's provide that
where you attended medical school. A combination of knowledge, skill and
genuine concern are what count.

Today there are excellent options for study abroad in a variety of countries.
World Health Organization (WHO) listing alone does not, however,
guarantee a quality education. A medical school, particularly if it was
established within the last 10 years, should be thoroughly investigated before
a student attends. Read the Words of Wisdom Section of the web page.

 

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The Following Words of Wisdom
Are the Best Advice You Will Ever Receive.
Read Each Item Carefully Before You Study Abroad

 

The first word of wisdom is that you can
receive an excellent education abroad
and a competitive residency in the
United States. You must first do your
homework and study only ata
reputable school with rigorous
academic standards.

 

 

More medical schools in the Caribbean, Mexico and Central America have
failed than have succeeded. Study only at established schools and be highly
skeptical of newly established schools. If this information is not included in
the catalog, ask each school for the following:

a. The USMLE Step | and Step II passing rates

b. A complete list of all training hospitals and their locations

c. A list of graduates and their residency placements

d. The names and credentials of all full-time faculty members.

e. Proof of listing with the World Health Organization

Follow the same procedure for established European Medical Schools with
English language programs. Make sure you have the same access to faculty,
library and lab facilities as local students in the regular program. Be prepared
to attain language fluency before you begin third and fourth year clerkships.

Do not believe what you read in a flashy catalog or on an internet site. Avoid
any school where recruiters engage in pressure tactics or make personal
concessions for you. Visit the admission office and basic science campus of
each school in your final selection pool. Attend lectures and interview several
current students.

During a personal visit, look for signs of adequate staffing and permanency.
Evaluate the faculty credentials and make sure the teaching staff is full-time
and in residence. Avoid schools that hire local MD practitioners on a part-
time basis to teach basic science courses normally taught by Ph.D. level
faculty (physiology, biochemistry, microbiology etc.)

Carefully evaluate the integrity of the library, laboratories and classroom
facilities. Many of the newer medical schools rent space in local hotels,

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converted garages, or private homes. Look for a permanent, fully functioning
campus and remember that a school that rents a few classrooms has little
incentive to remain open during hard times.

Be very wary of any school that will allow you to complete part of your basic
science studies in the United States or England. To avoid future licensing
problems, your entire basic science curriculum should be completed in the
country listed by the World Health Organization.

Be equally wary of schools that have substandard basic science campuses
and guarantee clerkship rotations in the United States. Many of the newly
established schools with poor to non-existent basic science campuses use
this tactic to attract new students. This is a tried and true con game that
could be very costly in terms of money and wasted time.

Go only to schools where the duration of the Doctor of Medicine program is
ai least 38 months and demand that you have full-time attendance at the
campus. Beware of programs that require that you be present only 6-8
weeks or place you on directed study back in the United States.

If you are unable to make a personal visit, interview several current students
and graduates before you make a choice. Do not go to schools that refuse to
give you a list of clinical training hospital sites or do not list the clinical sites in
the catalog.

Look for medical schools with external loan programs. A school with Stafford,
FFEL, TERI, or | HELP loans has a source of oversight and regulation if it is
receiving funding from one of these groups.

 

Click here for more Words of Wisdom

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AAIMG is pleased to release the results of site visits that
were conducted during 2003. The first site visits to foreign
medical schools were made in 1999 and focused on the so
called “off shore” programs. The report was revised again
in 2001 and included new material about rapidly growing
Eastern European programs. The proliferation of medical
school programs catering to North Americans requires
continued vigilance on the part of any applicant.

international Medical Graduates continue to make
important contributions to the U.S. health care system.
Residency training programs remain in surplus and the
outlook is favorable for well trained IMG’s who pass the
difficult USMLE examinations and possess a solid clinical
skill base. Post 9/11 visa requirements are more stringent,
as are rules about registration and travel across
international borders. Therefore, the U.S. citizen who has
studied abroad is attractive as a potential resident to
training directors.

Nevertheless, there are still hurdles, particularly in the area
of medical licensure. The trend in many states is to
demand more detailed documentation from international
medical graduates. In 1986, a significant number of
programs in the Dominican Republic and Mexico were
investigated and eventually closed due to poor standards
and unsavory practices such as selling medical degrees.
Unfortunately, a parallel process started in the late 1990's
with the rapid growth of so many new medical schoois in
the Caribbean, Central America and in the Pacific.

Each week AAIMG receives hundreds of emails and
letters. We remain committed now, as in the past, to
answering all serious inquiries in a timely manner.

Thomas Moore, MD
President, AAIMG

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LAW OFFICE OF DANIEL C. PERRI
Attorneys at Law
4 Eleventh Avenue, Suite One
Shalimar, Florida 32579
dpern@perilawotfice.cam
Daniel C. Pern Telechone (850) 651-300
Lisa Y. Fitetl Facsimmite (850) 651-3306

March £7, 2004

Assciation of American International Medical Graduates CERTIFIED MAIL
Attn: Thomas Moore, M.D. - President RETURN RECEIPT
1802 North Carson Steet, Suite 212 7002 2410 0004 2901 17604

Carson City, Nevada 89701
Re: St. Matthew's School of Medicine, Grand Cayman, British West Indies

Dear Dr. Moore:

I have been retained by St. Matthew’s School of Medicine, Grand Gayman, Bridsh West
Indies, to assist therm with the incorrect, misleading and damaging information contained on your
website at “www.aaimg.com”. The school has attempted to contact you many times through email
and telephone calls without success. You leave no other choice than to pursue Jegal action against
you and the AAIMG.

This is a gagpamd upon you to immediately contact Dr. Jerry Thornton. PhD at 800-498-
9700 or Dr. Michael Haris, M.D. al 850-678-1225. Both of these individuals are officers of the
school that can provide. you with true, correct and accurate information regarding its status,
‘icerising, facilities, faculty, curriculum, clerkship programs, and other information that you may
neecl to properly reflect the true state of affairs regarding the school on your website. Please
contact either one of them by no later than Wednesday, March 31, 2004. If you do not do so, then
we take your refygal to contact them to obtain correct information as an intentional effort te provide
misleading information on your website that is libelous, damaging, and intentionally misleading. 1
have then been instnicted to immediately file a lawsutt against your organization and against you
and other members of your corporation for your intenuonal efforts to damage the good name of the
school through maintaining incorect data on your website that is damaging to the school. by your
comlinuing refusal te respond to ernails and telephone calls from the school to provide you wath
corect information and the apparent lack of any proper legal structure of the AAIMG.
Case 2:05-cv-00848-BES-LRL Document 1-4 Filed 07/12/05 Page 18 of 23

ape k poe op GSAS 2e5 DANIEL 7 PERE “ww ye eat Dae

Thorias Moore, MLD.
March 17, 2004
Page 2

T await your prompt response and contact with either Dr, Hands or Dr. Thornton to correct
the information contained on vour website which is not only misleading, out of date, and
intemionally damaging, but there has been a complete lack of effort to keep it up to date with correct
information.

Very truly yours, V
Daniel C, Perri
DCP ceb

oct Michael A. Hartis, M.D.
Jerry Thornton, Ph.D.
Case 2:05-cv-00848-BES-LRL Document 1-4 Filed 07/12/05 Page 19 of 23

Search the WHOIS database.

BobParsons.com

 

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us

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30,000.

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Company Info

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WHOTS Search Resulis for: AATMG ICOM

The data contaned in Go Daddy Software, Inc.'s WHOIS database,

while believed by the company to be reliable, is provided "as is"

with no guaraniee or warranties regarding its accuracy. This

information is provided for the sole purpose of assisting you

in obtaining information about domain name registration records.

Any use of this data for any other purpose is expressly forbidden without the prior written
permission of Go Daddy Software, Inc. By submitting an inquiry,

you agree to thase terms of usage and limitations of warranty. In particular,
you agree not to use this data to allow, enable, or otherwise make possible,
dissemination cr col:ection of this data, in part or in its entirety, for any
purpose, such as the transmission of unsolicited advertising and
solicitations of any kind, including spam. You further agree

not to use this data to enable high volume, automated or robotic electronic
processes desi jned to collect or compile this data for any purpose,
including mining this data for your own personal or commercial purposes.

Please note: the registrant of the domain name is specified
in the "registrar t" field. l11 most cases, Go Daddy Software, Inc
is not the registrant of domain names listed in this database.

Registrant:
AAIMG

1802 N. Carsor Street
Carson City, Nevada 89701
United States

Registered through: GoDaddy.com (http:/Awww.godaddy.com)
Domain Name: AAIMG.COM

Created on: 02-Nov-99

Expires on: 02-Nov-06

Last Updated 01: 19-Nov-03

Administrative Contact:

Demkin, Andrew demkin@hotmail.com
60, Moika emb. apt.33
Saint-Petersburg, 9C00C

RUS

+7 812 314739” Fax -- +7 812 3147397
Technica! Contact:

Demkin, Andrew demkin@hotmail.com
60, Moika emb. apt.33
Saint-Petersburg, 9C000

RUS

+7 812 3147397 Fax -- +7 812 3147397

Domain servers in listed order:

NS5.SPB.RU
NSO.XNAME.ORG

Registry Status REGISTRAR-LOCK

See Underlying Reg:stry Data
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GoDaddy.com ss the world’s No. 1 ICANN-accredited domain name registrar for .COM, .NET, ORG, INFO,
BIZ and .US domain extensions. Source: Name Intelligence, Inc. 2005

1 of 2

7/5/2005 9:35 AM
Case 2:05-cv-00848-BES-LRL Document 1-4 Filed 07/12/05 Page 20 of 23

Student Doctor Network Forums - Time Magazine's Caribbean Med ... http://forums.drslounge.com/showthread. php ?t= 135768

loft

 

07-15-2004, 04:03 PM

Aucdoctobe
Registered User
100+ Posts

Join Date: Jul 2004

fe lol...

lol... Luck, before you get flamed by many others, I'm going to
let you in on a little secret.

Isn?t it strange that there is no information on the President:
?Thomas Moore, MD? who looks like he came out of an issue of
GQ Magazine. Thomas Moore is an extremely generic name.
Could it have been chosen because of its commonality??

Let me tell you about a company started and run from
someone's apartment in Russia..

Let me tell you about a company in Russia that has tried to
blackmail Caribbean schools for money or threaten them with
negative ratings..

And what if I told you that this company is not taken seriously
by any US licensing boards...

But wait, there is more: Anyone who has really researched the _
issue of a Caribbean education knows this. People who don't are |
either brand new or ignorant.

So, before giving advice, please research your stuff. Right now,
the only definitive measure of a Caribbean medical education is
a state licensing board.

Luck, you just got "punk'd" by AAIMG !!

PS I can't rag on you to hard about this one because I fell for it
two years ago. I just didn?t give anyone advice at that time.

Minority medical students forum -->
http://www. minoritymedstudents.com

 

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AAIMG unmasked--some into for those whesesonder

 

 

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OPosted Fri Dec 19, 2003 2:08 pm is AAIMG a total fraud.

   

rantiy there i a doctor

I have done some research about MD's named Thonas Moore and amp
with chet name at Rush Medical colleae in Chicago..

So far, this is the eanly MD T have found with this name, and as I happen to be located in Chicago,
I e tried to contact this doctor now. There IS a chance, cf course, that there stu! might be
some other name I don't Know about, but 1 think I arm moving closer every Gay towards nailing

the AAIMG down.

Say

   

Yesterday, I consulted a litigation lawyer with specialization on internet fraud and he satd quote:
“Nevada state have no rules barring litigation towards any institution frontirg information that turn
aut to be inaccurate, if this has proven to make a claintiff base his cecidions upon this information
causing hirn unreasonable darnages:" (Sigh...)

Meaning, if there ARE people out there that can claim that their initial choice to attend a schoo!
was based upon AAIMG information, this COULD be tried in court in Nevada state. (Very
interesting indeed).

He basically implied that a joint suit from S$ or more plaintiffs could be directed (and funded) as a

 

contingency class-action to cover up Garnages..

Only thing is; most likely any lawfirm taking on this case would require some prooof of assets for
the AAIMG before they could sue. In plain English, They would like to know if there was any
money to get for them before they Jurnp the game..!!

So thet leaves be back to the same situation: to find out who is behind the AAIMG, not getting any
(yet).

 

But if sure seams tasty to land on these people wth a legal giant hammer (hehe).

 

srragos available for this?? (same lawyer impled he was licensed in Nevada also, (haha)..

Sons Of Jafeth

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Case 2:05-cv-00848-BES-LRL Document 1-4 Filed 07/12/05 Page 22 of 23

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‘kK Forums > International For

ar Internationals and IMGs : User Name User Name IY remember Me?
' AAIMG- (American Association of Password , Login |
International Medical Graduates)

 

 
  

Register FAQ Members List Calendar

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2 02-16-2005, 07:39 AM

 

1a Id \. AAIMG- (American Association of Internationa

  

thomas medcor

 

AAIMG- (American Association of International Medicai
Graduates)

e Self established fraud organization

e Unregistered organization with no physical address. No such
address in Nevada

« Web site operating from Russia

*« No such president( Thomas Moorejor secretary( Sarah
Weinstein) exist with those names

« No phone, fax or registered email

* Uses hot mail

* Calls all schools and emails for money anywhere from US
$3000 to US $10,000 for writing good on his site with self
designed criteria

« Summons by Attorney General of Nevada state

° Law suits pending for fraud in most states

® For School Administration: Do not be fooled; do not pay them
money, same wire transferred to Russia to be listed good on
site. legal organization, Make no association with them, High
level investigation and operations to find them in progress. Be
careful who ever deals with AAIMG

* For Students: Big fraud organization, look for yourself, call if
you can find number in Nevada, write to local address in Nevada
wSindetin Doctor

“ of 2.

Case 2:05-cv-00848-BES-LRL Document 1-4 Filed 07/12/05 Page 23 of 23

Neneark Forums - AATMtseeAmerican Associalion 0... hitp.//forbwes.studentdoctor.net/showthread php?t= 180504

you will get your mail back undelivered. Also AAIMG is
squeezing money out of students for information. Students have
mailed to Russia money. Do not do that Illegal to associate with
this organization.

http: //www.oaima.com/------- LOOK AT THIS WEB SITE
PROFILE AND OPERATING ADDRESS. OPERATING FROM RUSSIA

 

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Disclaimer: OOO Nautilus disclaims any responsibility for the
content of this website provided by AAIMG

The American Association of International Medical Graduates,
hereafter referred to as AAIMG, was founded in 1992 as a
non-profit organization to promote acceptance of United States
citizen international medical graduates into mainstream
American medical practice.------- Please go into Registry of
organizations in state of Nevada from 1992, There is ne such
organization. Call Nevada State Attorney General for more
informacion on this fraud

Thomas Moore, President
wore nae There is no body by that name with no address and
phone number. Nevada Attorney General is investigating

AMERICAN ASSOCIATION OF INTERNATIONAL
MEDICAL GRADUATES

1802 North Carson Street

Suite 212-2161

Carson City, Nevada 89701 USA ~------r-6-+-- There is no physical
address, call post office and find out. Write a letter to this
address and see for yourself if it is delivered. Fraud address,
operating from Russia

PRESIDENT:

Thomas Moore M.D,

e-mail: presaaimg@hotmail.com------- LOOK AT THE HOTMAIL
ADDRESS. THIS IS A BIG TIME FRAUD ALL EMAILS GO TO
RUSSIA WHERE THEY EXTRACT MONEY FROM SCHOOLS AND
STUDENTS

M.D. EXECUTIVE SECRETARY:

Sarah B. Weinstein

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Guys this was a lot of research for me. Hope | saved some
students and schools money---Good Luck

4/20/2005 2:55 PM
